                      Case 3:23-mj-00152-GMB Document 1 Filed 04/06/23 Page 1 of 7                                              FILED
                                                                                                                       2023 Apr-06 AM 10:56
AO 91 (Rev. 11/11) Criminal Complaint                                                                                  U.S. DISTRICT COURT
                                                                                                                           N.D. OF ALABAMA

                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                  Northern District
                                                __________  DistrictofofAlabama
                                                                         __________

                  United States of America                        )
                             v.                                   )
            ABELARDO RAMOS-TELLES,
                                                                  )      Case No.
           CRISTIAN RAMOS CONTRERAS,                              )                 Mag 23-152
           and MARIO CARROZA RAMIREZ                              )
                                                                  )
                                                                  )
                          Defendant(s)


                                                CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                    April 5, 2023              in the county of               Colbert             in the
     Northern          District of           Alabama          , the defendant(s) violated:

            Code Section                                                    Offense Description

21 U.S.C. 846; 841(a)(1)                       Conspiracy to Possess with Intent to Distribute a Controlled Substance




         This criminal complaint is based on these facts:

See Attached Affidavit




         ✔ Continued on the attached sheet.
         u


                                                                                             Complainant’s signature

                                                                                     Julian Morris, DEA Special Agent
                                                                                              Printed name and title

Sworn tRE\WHOHSKRQHDQGVLJQHGHOHFWURQLFDOO\


Date:
                                                                                                Judge’s signature

City and state:                         Birmingham, AL                           Gray M. Borden, U.S. Magistrate Judge
                                                                                              Printed name and title
         Case 3:23-mj-00152-GMB Document 1 Filed 04/06/23 Page 2 of 7




                      UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ALABAMA

 AFFIDAVIT IN SUPPORT OF                        UNDER SEAL
       COMPLAINT
                                               Mag No. 23-152

      I, Julian Morris, a Special Agent with the Drug Enforcement Administration,

after being duly sworn, declare as follows:

1.    I am currently assigned to the Birmingham District Office. I have been

assigned to the DEA Birmingham District Office since February 2023. Prior to this

assignment, I have been an Officer with the Virginia Beach Police Department

since July 2013, and during that time I have held several different positions. Also

during that time, I have been assigned to numerous investigations involving

narcotics trafficking activities.

2.    As a part of my official duties as a Special Agent with DEA, I investigate

criminal violations of the federal narcotics laws, including, but not limited to, Title

21, United States Code, Sections 841(a)(1), Possession with the Intent to Distribute

and Distribution of Controlled Substances; and 846, Conspiracy to Possess with

the Intent to Distribute and Distribute Controlled Substances.

3. The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents and witnesses. This
         Case 3:23-mj-00152-GMB Document 1 Filed 04/06/23 Page 3 of 7




affidavit is intended to show merely that there is sufficient probable cause for the

requested warrant and does not set forth all of my knowledge about this matter.

4. I am personally involved in the investigation of the offenses referred to herein,

and I have participated in the normal methods of investigation, including, but not

limited to, visual surveillance, the general questioning of witnesses, and the review

of reports related to the investigation.

                                PROBABLE CAUSE

5. The United States, including the DEA, is conducting a criminal investigation

into drug trafficking via delivery service into the Birmingham, AL area, regarding

possible violations of Title 21, United States Code, Sections 841(a)(1), Possession

with the Intent to Distribute and Distribution of Controlled Substances, and 846,

Attempt to Possess and Conspiracy to Possess with the Intent to Distribute and

Distribution of Controlled Substances.

6. More specifically, the Drug Enforcement Administration (DEA) Laredo District

Office (DO) is currently conducting an investigation regarding shipments coming

through the Laredo, Texas Port of Entry containing drugs comingled with

legitimate cargo. Over the course of their investigation, Laredo agents have

identified a consolidated shipping company located in Tonala, Jalisco, Mexico

responsible for shipping parcels through Laredo, Texas. On March 24, 2023,

Laredo DO in coordination with Laredo Homeland Security Investigations (HSI)


                                           2
        Case 3:23-mj-00152-GMB Document 1 Filed 04/06/23 Page 4 of 7




and Laredo Customs and Border Protection (CBP), identified a tractor-trailer

containing consolidated parcels from the aforementioned company.

7. The tractor-trailer was referred for secondary inspection. During that inspection,

CBP conducted a physical search of the parcels and identified two small ovens

destined to a shipping company located on the 3000 block of Industrial Parkway in

Birmingham, Alabama. The parcel contained a bill of lading identifying David

Hernandez Gonzalez as the consignee for the parcel. The address for the consignee

was the terminal for the shipping company in Birmingham, Alabama. The phone

number listed was (747) 104-4390. Agents identified this number through records

checks as a Mexican number out of Guerrero, Mexico.

8. CBP utilized the VIKEN (a handheld x-ray device) and discovered anomalies

within the side walls of the ovens. An intrusive inspection by CBP utilizing a drill,

revealed a white powdery substance that field tested positive for heroin. A total of

nine bundles of suspected white heroin containing "Apple" and "Jeep" stamping,

weighing approximately 9.5 kilograms were removed from the ovens.

9. The suspected heroin and two ovens were turned over to the Laredo DO for

delivery to Alabama. The Laredo DO coordinated with the shipping company to

arrange for delivery of the package on April 4, 2023. On April 3, 2023, Laredo

agents transported the two ovens to the Birmingham DO. Agents repackaged the

stoves and filled the ovens with a “sham” substance, along with a tracking device


                                         3
        Case 3:23-mj-00152-GMB Document 1 Filed 04/06/23 Page 5 of 7




in both ovens. The removed suspected heroin is being maintained in DEA custody

for shipment to the DEA Southeast Laboratory for further testing.

10. The “sham” oven package was placed on a pickup dock at approximately 9:00

a.m. on April 4, 2023, while agents waited nearby, maintaining visual surveillance

of the package. The shipping company contacted the Mexican number listed on the

bill of lading and advised the package had arrived and was ready for pick-up. The

unknown individual who answered the phone did not speak English and responded

in Spanish “I don’t know, I don’t know” and then hung up. The package was not

picked up on the aforementioned date. Pickups to the public terminated at 8:00

p.m., at which time, the package was stowed away in a truck belonging to the

shipping company.

11. The shipping company sent an email to the consolidated shipping company in

Mexico, advising that storage fees would be charged if not picked up within 24

hours. The consolidated shipping company responded that the package would be

picked up between 11am and 5pm.

12. On April 5, 2023 at approximately 8:00 a.m., agents returned to the location to

wait for pickup. At approximately 2:15 p.m., an individual arrived to pick up the

package, presenting a Mexican driver’s license with the name David Hernandez

Gonzalez listed. That individual was later identified as Mario CARROZA

RAMIREZ. Mario CARROZA RAMIREZ loaded the oven package into a


                                        4
        Case 3:23-mj-00152-GMB Document 1 Filed 04/06/23 Page 6 of 7




Chevrolet truck and drove to a Mexican restaurant nearby. There, Mario

CARROZA RAMIREZ met with two other individuals driving a white Nissan

Pathfinder. The driver of the Pathfinder was positively identified by agents as the

registered owner of the vehicle, Abelardo RAMOS-TELLES, and the passenger

was later identified as Cristian RAMOS CONTRERAS. The three individuals then

began driving in tandem in the direction of Sheffield, Alabama, constantly

surveilled by agents.

13. On April 5, 2023, at approximately 5:45 p.m., Mario CARROZA RAMIREZ

completed transport of the oven package to an outbuilding located at 1801 Frey

Ave in Sheffield, Alabama where it was unloaded by CARROZA RAMIREZ,

RAMOS CONTRERAS and RAMOS-TELLES and taken inside the outbuilding.

14. Within minutes of unloading the package into the outbuilding, all three

individuals stood outside of the residence at the back of their truck at 1801 Frey

Ave.

15. At this time, agents approached the individuals. RAMOS CONTRERAS gave

consent to the search of the residence and the outbuilding. Agents secured the oven

package in the outbuilding.

16. Based on the foregoing, your affiant submits that probable cause exists for the

issuance of a complaint and arrest warrants for Mario CARROZA RAMIREZ,

Abelardo RAMOS-TELLES, and Cristian RAMOS CONTRERAS, for violations


                                        5
        Case 3:23-mj-00152-GMB Document 1 Filed 04/06/23 Page 7 of 7




of 21 U.S.C. § 846, Conspiracy to Possess with the Intent to Distribute a

Controlled Substance.


                                ____________________________________
                                Julian Morris
                                Special Agent
                                Drug Enforcement Administration




Sworn to by telephone and signed electronically this 6th day of April, 2023


                                ____________________________________
                                Gray M. Borden
                                United States Magistrate Judge
                                Northern District of Alabama




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